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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION

                                           §
LADARION HUGHES, et al.,                   §
                                           §
      Plaintiffs,                          §
                                           §
v.                                         § Case No. 6:23-cv-344-JDK
                                           §
SMITH COUNTY, TEXAS,                       §
                                           §
      Defendant.                           §
                                           §

                    AMENDED INITIAL SCHEDULING ORDER

      Before the Court is the parties’ joint motion to extend certain discovery
deadlines in this case. Docket No. 24. The Court GRANTS the motion.

      Pursuant to Federal Rule of Civil Procedure 16(b) and the Eastern District of
Texas Local Rules (except as modified herein), the Court, having considered the
status report submitted by the parties, finds that the following schedule should
govern the disposition of this case:

 March 3, 2025           Dispositive Motions due from all parties.

                         Motions shall comply with Local Rule CV-56 and Local Rule
                         CV-7. Motions to extend page limits will only be granted in
                         exceptional circumstances.

 November 20, 2024       Oral Fact Discovery Deadline

                         All oral fact discovery shall be completed by this date.

 October 24, 2024        Plaintiff’s class certification motion due.

 September 24, 2024      Expert Discovery Deadline.

 September 24, 2024      Expert Discovery Deadline

                         All expert discovery shall be completed by this date.




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September 20, 2024       Written Fact Discovery Deadline

                         All written fact discovery shall be completed by this date.

30 days after any        Parties may provide further expert disclosure of expert
Rule 26(a)(2)            testimony or evidence intended solely to contradict or rebut
disclosure               evidence on the same subject matter identified by another
                         party under Rule 26(a)(2)(B) within 30 days of the disclosure
                         contradicted or rebutted.

August 24, 2024          Party without the burden of proof on an issue shall file a
                         written designation of the name and address of each expert
                         witness, if any, who will testify at trial for that party and
                         shall otherwise comply with Federal Rule of Civil Procedure
                         26(a)(2) and Local Rule CV-26(b).

July 24, 2024            Party with the burden of proof on an issue shall file a written
                         designation of the name and address of each expert
                         witness, if any, who will testify at trial for that party and
                         shall otherwise comply with Federal Rule of Civil Procedure
                         26(a)(2) and Local Rule CV-26(b).

January 24, 2024         Deadline for Motions for Leave to Join Parties or Amend
                         Pleadings.

                         Parties may petition the Court to modify this deadline for
                         good cause.

November 14, 2023        File Notice of Mediator

                         The parties may jointly file a notice that identifies an agreed
                         upon mediator (with a proposed order appointing the
                         mediator) or indicates that no agreement was reached. If
                         the parties do not reach an agreement, the Court will
                         appoint a mediator.       The parties should confirm the
                         mediator’s availability and schedule mediation before the
                         deadline.

       If any of these dates fall on a weekend or Court holiday, the deadline is
modified to be the next Court business day. Also note that all deadlines in this order
are for filing or delivery, not mailing dates.

       Unless otherwise ordered or specified herein, all limitations and requirements
of the Federal Rules of Civil Procedure and the local rules of this Court must be
observed.

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                I. MODIFICATION OF SCHEDULING ORDER

       As addressed above, this Order shall control the disposition of this case unless
it is modified by the Court upon a showing of good cause and by leave of court. Fed.
R. Civ. P. 16(b)(4). Any request that the trial date of this case be modified must be
made (a) in writing to the Court, (b) before the deadline for completion of discovery.

                           II. DISCOVERY DISPUTES

        Before filing a motion to compel, a motion to quash, or a motion for protection
from discovery, lead counsel for each party must confer in good faith concerning the
disputes. If the dispute is not resolved by conferring in good faith, then a party may
file an appropriate motion. Any such motion should include a certification by counsel
describing the steps taken to comply with this paragraph.

                        III. ELECTRONIC DISCOVERY

       In cases involving disputes over extensive electronic discovery, counsel for both
sides shall review the court’s [Model] Order Regarding E-Discovery in Patent Cases
before contacting the Hotline or filing motions to compel or to quash. The order can
be modified for use in any case in which electronic discovery is an issue, and any
ruling of the court on conduct of electronic discovery will likely be based, at least in
part, on that model order. See ED Texas Website under Quick Links / Forms / Patent
Forms / Order Regarding E-Discovery in Patent Cases.

                                 IV. RESOURCES

      The Eastern District of Texas website (www.txed.uscourts.gov) contains
information about electronic filing, which is mandatory, Local Rules, telephone
numbers, general orders, frequently requested cases, the Eastern District fee
schedule, and other information.

                                 V. COMPLIANCE

       A party is not excused from the requirements of this scheduling order by virtue
of the fact that dispositive motions are pending, the party has not completed its
investigation, the party challenges the sufficiency of the opposing party’s disclosure,
or because another party has failed to comply with this Order or the rules.

       Failure to comply with relevant provisions of the Local Rules, the Federal
Rules of Civil Procedure, or this Order may result in the exclusion of evidence at trial,
the imposition of sanctions by the court, or both. If a fellow member of the Bar makes
a just request for cooperation or seeks scheduling accommodation, a lawyer will not
arbitrarily or unreasonably withhold consent. However, the court is not bound to
accept agreements of counsel to extend deadlines imposed by rule or court order. See
Local Rule AT-3(j).

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                                VI. INQUIRIES

       Questions relating to this scheduling order or legal matters should be
presented in a motion, as appropriate. For questions regarding electronic notice or
electronic case files, please see the ECF FAQs on the Eastern District of Texas
website.

      So ORDERED and SIGNED this 2nd day of August, 2024.



                                         ___________________________________
                                         JEREMY D. KERNODLE
                                         UNITED STATES DISTRICT JUDGE




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